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                     LAW OFFICE OF DAVID R. LURIE, PLLC
                                           194 President Street
                                        Brooklyn, New York 11231

     Phone: 347-651-0194
E-mail:david@davidlurielaw.com
                                               May 13, 2022

    The Honorable Stewart D. Aaron
    United States District Court
     for the Southern District of New York
    500 Pearl Street, Room 1970
    New York, New York 10007

                                  Re: Rohan Ramchandani v. Citigroup, Inc., et al.,
                                      Civil Action No. 1:19-cv-9124 (VM) (SDA)

    Dear Judge Aaron:

          We write in response to Citi’s letter of May 9, and in accordance with the Court’s Order
    of May 11, 2022.

            Plaintiff’s certification. In response to the May 11 Order, we certify that the WilmerHale
    firm prepared some internal firm memoranda of meetings they held with the Department of
    Justice in connection with the criminal investigation of Rohan Ramchandani.

            As we will explain, however, Citi never requested the production of those memoranda.
    To the contrary, in the relevant portions of both its document request and its later proposed ESI
    search protocol, Citi requested that Mr. Ramchandani request that Wilmer search only for the
    firm’s “external communications” with the DOJ. Accordingly, Wilmer did not conduct an ESI
    search for such internal memoranda, and does not know how many such memoranda may exist.
    An additional search would be required to find out.

            Citi’s requests to Mr. Ramchandani concerning WilmerHale communications. When,
    during the April 25, 2022 conference, the Court asked the undersigned if Plaintiff agreed “with
    the concept of logging your notes and memoranda of discussions with the DOJ to the extent they
    exist….” (Tr. 5), I frankly did not recall that Citi had not requested any such materials, and that,
    therefore, they had not been identified in the prior ESI search process.

          In its June 14, 2021 First Document Request, Citi solely sought, in relevant part,
    “communications during the relevant time period between [Ramchandani or his counsel] and the
    Department of Justice” concerning certain specified topics (Exh. A). Furthermore, in a later
    December 7, 2021 specifying the ESI search terms Citi wished Mr. Ramchandani to request
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Wilmer to employ, Citi reiterated that it was requesting “external communication with
prosecutors and witnesses in the case” (Exh. B).1

        Wilmer provided Mr. Ramchandani the requested external communications with DOJ
personnel. All such documents were produced to Citi; none were withheld. Because, however,
Citi did not request internal notes or memoranda, Mr. Ramchandani did not request Wilmer to
search for them.

        Proposed resolution. We do not understand the Court’s April 26, 2022 Order to have
been intended to require any party to provide a privilege log for categories of documents that
were not requested by its opponent. Rather, we understand that each side was being asked to
provide supplemental logs of certain otherwise responsive documents that were withheld on
privilege grounds.

       Nonetheless, and as we have informed Citi, Plaintiff stands ready to request Wilmer to
search Mr. Ramchandani’s files on its document management system for DOJ meeting
memoranda dating from the period prior to Mr. Ramchandani’s indictment.

        Performing an additional search may entail substantial lawyer time and other costs. We
asked Citi if they were willing to (i) specifically define the scope of the search the are seeking
and (ii) pay for the associated fees and other costs (Exh. C). Citi declined to respond to our
query and instead wrote to the Court.

        In the absence of a response to our query from Citi, we request that the Court (i) narrowly
define the specific materials Mr. Ramchandani should request from Wilmer; and (ii) require Citi
to reimburse fees and costs related to the supplemental work. We will thereafter timely produce
any additional documents, or log them, on a document-by-document basis, if they are privileged.

                                              Respectfully submitted,

                                                      /s/

                                              David R. Lurie

cc: Counsel to Defendants (Via ECF)




1
 Plaintiff’s requests to Citi and its counsel re the DOJ investigation were, in contrast, far broader
and sought “[a]ll documents concerning” the investigation, specifically including all documents
prepared by Citi and its agents.
